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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS

In re:
                                                           CASE NO. 21-03647
Lisabeth E. Hawks                                          CHAPTER 13

                    DEBTOR(S).                             NOTICE OF FORBEARANCE AGREEMENT

         Community Loan Servicing, LLC f/k/a Bayview Loan Servicing, LLC (hereinafter “Creditor”), secured
creditor of the above-entitled Debtor(s), hereby provides notice that Creditor and Debtor(s) have entered into a
Forbearance Agreement due to the impact of COVID-19. The Forbearance Agreement relates to the loan ending in
XXXXXX0856, hereinafter “Loan”, which is secured by the real property located at 273 Nicole Dr, South Elgin, IL
60177. Under the Forbearance Agreement, payments due under the Loan are suspended beginning with the payment
due on September 1, 2021, through and including the payment due November 1, 2021.
         This Notice does not constitute an amendment and/or modification of the Loan. Creditor, at this time, does
not waive any rights to collect the payments that come due during the forbearance period after the forbearance plan
ends. Furthermore, Creditor does not waive its rights under other applicable non-bankruptcy laws and regulations,
including, but not limited to, RESPA, and the right to collect any post-petition escrow shortage. During the
forbearance period Creditor may continue to file notices in compliance with Fed. Rule Bankr. P. 3002.1.
         Because of the uncertainties surrounding how long this pandemic will last, Creditor will work with
Debtor(s) or Debtor(s)’ counsel to determine when Debtor(s) will be able to resume making mortgage payments and
when/how the Debtor(s) will cure the delinquency created by the forbearance period (“forbearance arrears”). Once
the forbearance plan ends and the Creditor and Debtor(s) or Debtor(s)’ counsel agree on an appropriate repayment or
loss mitigation program, Creditor will file a notice or an amended/supplemental claim consistent with local practice.
         Creditor does not waive its rights to seek relief from the automatic stay for reasons other than non-payment
of the Mortgage, including, but not limited to, a lapse in insurance coverage or non-payment of property taxes.
         This Notice does not constitute an amendment or modification to the Debtor(s)’ plan of reorganization, and
does not relieve the Debtor(s) of the responsibility to amend or modify the plan of reorganization to reflect the
Forbearance Agreement, if required.
                                                                                 Respectfully submitted:

                                                                                 /s/Michael Dimand
                                                                                 Michael Dimand
                                                                                 Attorney for Creditor
Michael Dimand
Wirbicki Law Group, LLC
Attorney for Creditor
33 West Monroe
Suite 1540
Chicago, IL 60603
Phone: 855-891-6777
Fax: 312-360-9461
W21-0086
              THIS COMMUNICATION IS FROM A "DEBT COLLECTOR." (15USC 1692a)
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IN RE:                                          )
                                                )
Lisabeth E. Hawks                               )     Case No. 21-03647
                                                )     Chapter 13
                                                )

To: Lisabeth E. Hawks 273 Nicole Dr., Unit E South Elgin, IL 60177
Law Office of William J. Factor, Ltd. 105 W. Madison, Suite 1500 Chicago, IL 60602
Glenn B Stearns 801 Warrenville Road Suite 650 Lisle, IL 60532



                                CERTIFICATE OF SERVICE

     I, MICHAEL DIMAND, an attorney, certify that I served the above-named parties by placing a
     copy of the Notice of Forbearance filed by Community Loan Servicing, LLC in an envelope,
     correctly addressed and mailing same by regular mail, postage pre-paid in the U.S. Mail chute at
     125 E. Lake St., Bloomingdale, Illinois before the hour of 5:00 p.m. on November 8, 2021.

                                                                           /s/Michael Dimand
                                                                           MICHAEL DIMAND




Michael Dimand
Wirbicki Law Group, LLC
Attorney for Creditor
33 West Monroe Suite 1540
Chicago, IL 60603
Phone: 847-641-5177
Fax: 312-360-9461



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